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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 ARTHUR L. GONZALES, JR.,

                       Plaintiff,
 v.
                                                      Case number: 22-3019-SAC-GEB
 ROBERT WRAY, et al,

                       Defendants,


                             DEFENDANT JAMES SKIDMORE’S
                            MOTION FOR SUMMARY JUDGMENT

       Defendant James Skidmore (“Skidmore”), by and through counsel Whitney L. Casement of

Stevens & Brand, L.L.P., hereby submits this Memorandum in Support of Motion for Summary

Judgment, pursuant to Fed. R. Civ. P. 56 and D. Kan. Rule 56.1.

       Because Plaintiff Gonzales is an inmate at a Kansas Department of Corrections (“KDOC”)

correctional institution and has failed to timely exhaust administrative remedies as required by law,

this Court should grant summary judgment to Defendant.

       Defendant Skidmore will file a memorandum to accompany this motion, pursuant to D. Kan.

Rule 7.1.

                                             Respectfully submitted,

                                             STEVENS & BRAND, L.L.P.

                                             By: /s/ Whitney L. Casement
                                             Whitney L. Casement, #25466
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                                             Topeka, KS 66604
                                             (785) 437-2288 – Phone
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                                             Counsel for Defendant Skidmore




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                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 22nd day of September, 2022, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court via the CM/ECF e-filing system,
which will send notice of filing to all participants receiving notices, and was sent by U.S. Mail,
postage prepaid, upon the following:

       Arthur L. Gonzales, Jr.
       110872
       LANSING Correctional Facility
       PO Box 2
       Lansing, KS 66043-0002



                                                      /s/ Whitney L. Casement
                                                      Whitney L. Casement




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